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                       IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF CONNECTICUT

OLIVER LUCK                                       §
                                                  §
       Plaintiff                                  §
                                                  §
v.                                                §          CIVIL NO. 3:20-cv-516 (VAB)
                                                  §
VINCENT K. MCMAHON and                            §
ALPHA ENTERTAINMENT LLC                           §
                                                  §          December 15, 2020
       Defendants.                                §

      PLAINTIFF OLIVER LUCK’S SUPPLEMENT TO POSITION STATEMENT
             FOR DECEMBER 17, 2020 DISCOVERY CONFERENCE

       In addition to the points raised in Plaintiff Oliver Luck’s Brief Position Statement dated

December 10, 2020 (ECF No. 106), the Court should deny Defendants’ request for an order

compelling Mr. Luck to provide the passcode to the iPhone issued to him by defendant Alpha

Entertainment LLC (“Alpha”) because the request seeks information that is not relevant to the

issues in dispute.

       Federal Rule of Civil Procedure 26(b) provides that “[p]arties may obtain discovery

regarding any nonprivileged matter that is relevant to any party's claim or defense and proportional

to the needs of the case . . . .” (Emphasis added.) Information sought in discovery must be

reasonably calculated to lead to the discovery of admissible evidence. See Harnage v. Brennan,

2018 WL 4141035, at *4 (D. Conn. Aug. 30, 2018) (denying plaintiff’s motion to compel in part

where plaintiff had not articulated how the discovery requests were reasonably calculated to lead

to the discovery of admissible evidence); Braswell v. Bujnicki, 2018 WL 1293076, at *1 (D. Conn.

Mar. 13, 2018) (denying in part plaintiff’s motion to compel where Court could not discern how

the discovery sought would lead to the discovery of admissible evidence).




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       The information that the Defendants seek—the passcode to the iPhone issued to Mr. Luck

by Alpha—is not reasonably calculated to lead to the discovery of admissible evidence because

Mr. Luck’s personal use of the cellphone was not and could not have been a basis for his

termination. Pursuant to the May 2018 Employment Contract between Mr. Luck and Alpha (the

“Employment Contract”), if any act by Mr. Luck that would have constituted “cause” to terminate

his employment was susceptible to cure, Alpha was required to give Mr. Luck thirty days’ written

notice to effect such cure. Alpha did not do so, however, and therefore could not have invoked

Mr. Luck’s personal use of the iPhone—an act that indisputably was susceptible to cure—as a

basis to terminate him. 1

       Further, Alpha cannot benefit from its own wrongful termination of Mr. Luck by relying

on its own act—the termination—as the cause for its failure to abide by the Employment Contract

and provide thirty days written notice to cure. See Semac Electric Co., Inc. v. Skanska USA

Building Inc., 195 Conn. App. 695 (2020).

       Thus, whether Mr. Luck used the iPhone for personal matters is irrelevant to the issues in

this case and the iPhone passcode is not reasonably calculated to lead to the discovery of admissible

evidence. Plaintiff Oliver Luck respectfully requests that the Court deny Defendants’ requests.




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 Not only did Alpha’s termination without notice and opportunity to cure violate Mr. Luck’s
employment contract, it also served to strip Alpha of its “employer” status under Conn. Gen.
Stat. § 31-40x.


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                            PLAINTIFF OLIVER LUCK

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                                 CERTIFICATE OF SERVICE
        I hereby certify that on December 16, 2020, a copy of the foregoing was filed
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                                              /s/ Andrew M. Zeitlin




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